                                                                                                          Fiscal Year 2019
                 August 31 cash :      53,335
                                    September   October       November       December      January          February         March        April         May        June       FY19 Total
Inflow
   City of Cedar Rapids                     0          0              0                0             0             0          250,000           0            0     250,000      500,000
   Destination Fees                    56,831     42,049         45,319        49,596        39,433           42,725           47,346      54,166       56,979      57,272      491,716
   Other Revenues                      45,010     37,500          3,970        13,102        10,202           10,202           10,202           0        4,900      20,000      155,086
                                      101,840     79,549         49,289        62,698        49,635           52,926          307,547      54,166       61,879     327,272    1,146,802
Outflow
   Payroll & Related
      Wages                            51,779     58,709         58,709        56,576        67,860           61,910           61,910      61,042       61,042      61,042      600,580
      Taxes                             4,374      4,744          4,744         4,822         6,107            5,572            5,572       5,494        5,494       5,494       52,416
       Benefits                         9,003      7,132          7,132         7,176         9,940            9,642            9,642       9,599        9,599       9,599       88,465
   Admin & General
       Facilities                       7,198      7,497          7,497        10,882         7,497            7,497            9,449       7,497        7,497       9,449       81,963
      Other A&G                         3,004      3,185         26,160         1,220         1,995            3,150            1,660       1,160        1,160       3,160       45,854
   Business Development                     0        240          1,240         1, 240        1,240            1,240           17,240         240          240         240       23,160
   Sales                                5,755      6,300         35,545        10,800         2,000            3,000           12,683      26,750       18,950      29,083      150,866
   Marketing                                0      4,335          2,280         1,280         1,280            1,280            2,780       2,280        1,280       1,280       18,075
                                       81,114     92,143        143,308        93,996        97,919           93,291          120,936     114,063      105,263     119,347    1,061,378
Operations Cash Flow                   20,727    (12,594)        ( 94,018)     (31,298)      ( 48, 284)      (40,365 )        186,611     ( 59,897 )   ( 43,383)   207,925       85,424
Prospect Meadows                        1,710             0          500        1,500         1,500            1,500            1,500       1,500        1,500      16,981       28,191
Outstanding A/ R                       50,844                                                                                                                                    50,844
Outstanding A/ P                       51,386     38,560                                                                                                                         89,946
Free Cash Flow                         21,894    (51,154)        ( 93,518)     ( 29,798)     ( 46,784)       ( 38,865 )       188,111     (58,397)     (41,883)    224,906       74,512
Cumulative Free Cash Flow              75,229     24,076         ( 69,443)     ( 99,241)    (146,025)       (184,890 )          3,222     (55,175 )    ( 97,058)   127,847




                                                                                                          Fiscal Year 2020
                                      July      August        September      October       November        December        January      February       March       April        May        June      FY 20 Total
Inflow
   City of Cedar Rapids                     0          0        250,000             0             0          250,000                0           0      250,000           0            0    250,000   1,000,000
   Destination Fees                    61,938     56,952         55,539        60,657        60,150           52,583           41,512      45,594       48,615      54,707       57,549     57,845     653,642
   Other Revenues                      12,330     12,330         21,854        59,354        20,354           10,957           10,202      10,702       11,967           0            0     14,500     184,550
                                       74,269     69,283        327,393       120,011        80,504          313,540           51,713      56,296      310,582      54,707       57,549    322,345   1,838,192
Outflow
   Payroll & Related
      Wages                            63,752     63,752         64,561        64,561        64,561           63,763          69,840       63,741       63,806      62,874       62,874    62,874      770,957
     Taxes                             5,738       5,738          5,811         5,811         5,811            5,739           6,286        5,737        5,743       5,659        5,659     5,659       69,386
     Benefits                         10,782      10,782         10,823        10,823        10,823           10,783          11,087       10,782       10,785      10,739       10,739    10,739      129,687
   Admin & General
     Facilities                        7,342       7,342          7,342         7,647         7,647           11,100            7,647       7,647        9,638       7,647        7,647      9,638      98, 287
     Other A&G                        13,917      15,564          8,064         3, 249       11,683            1,244            2,085       3,213        1,693       1,183        1,313      3,223      66,432

                                                                                                                                                                             Exhibit BB, Page 1
   Business Development            275            275         275         275        1,375       1,375             1,375         1,375         18,875            275            275          275       26,300
   Sales                        18,000          2,050       5,500      15,000        1,400       6,300                 0           750         15,000          3,750         10,000       47,750      125,500
   Marketing                    1,280           1,280       1,280       1,280        1,880       1,280             1,280         1,280          2,780          1,280          1,280        1,280       17,460
                              121,086         106,784     103,657     108,646      105,180     101,583            99,599        94,525        128,320         93,406         99,786      141,437    1,304,009

Operations Cash Flow           (46,817)       (37,501)    223,737      11,365      ( 24,676)   211,956            (47,886)     ( 38,229 )     182,262        (38,699)       (42,237)     180,908      534,182

Prospect Meadows                22,552         62,738       3,180      24,864          500       1,500             1,500         1,500           1,500         1,500          3,364       20,248      144,946

Free Cash Flow                 ( 24,265)       25,236     226,917      36,229      ( 24,176)   213,456            (46,386 )    (36,729)       183,762        (37,199)       (38,873 )    201,156      679,128

Cumulative Free Cash Flow     103,582         128,819     355,735     391,965      367,789     581,245            534,859      498,130         681,892       644,693        605,820      806,976



                                                      Fiscal Year 2021                                                                                                 Fiscal Year 2022
                            1st Quarter    2nd Quarter 3rd Quarter 4th Quarter   FY21 Total                                                 1st Quarter   2nd Quarter     3rd Quarter 4th Quarter   FY 22 Total
Inflow                                                                                                   Inflow
   City of Cedar Rapids        250,000        250,000     250,000     250,000    1,000,000                  City of Cedar Rapids               250,000       250,000        250,000      250,000    1,000,000
   Destination Fees            176,736        175,991     137,757     172,653      663,137                  Destination Fees                   179,958       179,511        140,512      176,106      676,087
   Other Revenues               41,325         51,168     105,182           0      197,676                  Other Revenues                      42,152        52,192        107,286            0      201,629
                               468,061        477,159     492,939     422,653    1,860,813                                                     472,110       481,702        497,798      426,106    1,877,716

Outflow                                                                                                  Outflow
   Payroll & Related                                                                                       Payroll & Related
      Wages                    197,792        198,629     203,220     194,280      793,921                     Wages                           295,173       204,544        209,227      200,108      909,053
      Taxes                     17,801         17,877      18,290      17,485       71,453                     Taxes                            26,566        18,409         18,830       18,010       81,815
      Benefits                  34,237         34,279      34,508      34,061      137,085                     Benefits                         40,786        36,254         36,488       36,033      149,561
   Admin & General                                                                                         Admin & General
      Facilities                22,688         27,186      25,681      25,681      101,235                        Facilities                    23,369        28,002         26,451       26,451      104,273
      Other A &G                38,672         16,662       7,201       5,891       68,425                     Other A&G                        39,832        17,161          7,417        6,068       70,478
   Business Development            842          3,086      22,058         842       26,826                  Business Development                   858         3,147         22,499          858       27,363
   Sales                        26,061         23,154      16,065      62,730      128,010                  Sales                               26,582        23,617         16,386       63,985      130,570
   Marketing                     3,917          4,529       5,447       3,917       17,809                  Marketing                            3,995         4,619          5,556        3,995       18,165
                               342,010        325,401     332,469     344,886    1,344,766                                                     457,160       335,755        342,855      355,507    1,491,277

Operations Cash Flow           126,052        151,759     160,470      77,767      516,047               Operations Cash Flow                   14,950       145,948        154,943       70,599      386,439

Prospect Meadows               109,485         31,788        4,500      27,276     173,048               Prospect Meadows                      120,210        34,683          4,500       29,661      189,054
Free Cash Flow                 235,536        183,546     164,970     105,042      689,095               Free Cash Flow                        135,160       180,631        159,443      100,259      575,493
Cumulative Free Cash Flow    1,042,512      1,226,058    1,391,029   1,496,071                           Cumulative Free Cash Flow           1,631,231     1,811,862      1,971,305     2,071,564




                                                                                                                                                                        Exhibit BB, Page 2
                                                                                    Fiscal Year 2019
                                                                                  Bonus Employer
                                            Salary               Commissions      Payout     Taxes      401(k)      Cell Phone       Payroll                   Benefits
         Employee              Pay Rate   Monthly    Annual         8.5%           0.0%        9%      employer   Reimbursement    Processing   Wellmark                    2,977
 Deeter, Heather                 2,384       4,769      57,227                                   429        238               50          150   United Healthcare             324
Hargrave, Douglas S     .        4,500       9,000     108,000                     20%          810         450               50                Lincoln National              255
Malmberg, Mary Lee               3,156       6,313      75,752                     10%          568         316               50                VSP                            81
McGurk, Donald                   3,315       6,631      79,568                     10%          597         332               50                Delta Dental                  260
Meyer, MarkJ.                    3,125       6,250      75,000        X                         563        313                50
Pickar, Jennifer                 3,293       6,586      79,033                     10%          593        329                50                Wellmark                    5,019
            .
Stow, Julie A                    2,790       5,579      66,950                     10%          502        279                50                United Healthcare             357
Sturtz, Jacquelyn R .            1,916       3,832      45,980                                  345        192                50                Lincoln National              329
                .
Zabei, Elizabeth L               1,875       3,750      45,000                     10%          338        188                50                VSP                           143
                -
Interim CEO (Sep Dee)            3,000       6,000      72,000                                                                                  Delta Dental                  466
CEO (Jan forward)                4,167       8,333    100,000                      30%          750        417                50

                            September:     58,709                         2,277              4,949       2,749              600                                             3,897
                              October:     58,709                             0              4,744       2,635              600                                             3,897
                            November:      58,709                             0              4,744       2,635              600                                            3,897
                            December:      55,709                           867              4,822       2,679              600                                            3,897
                              January:     61,042                         6,817              6,107       2,976              650                                            6,314
                             February:     61,042                           867              5,572       2,679              650                                            6,314
                                March:     61,042                           867              5,572       2,679              650                                            6,314
                                 April:    61,042                             0              5,494       2,635              650                                            6,314
                                 May:      61,042                          0                 5,494       2,635               650                                           6,314
                                 June:     61,042                          0                 5,494       2,635               650                                           6,314
                                          598,091                     11,696          0     52,991      26,939             6,300                                          53,469



                                                                                   Fiscal Year 2020
                                                                                  Bonus Employer
                                          Salary                 Commissions      Payout Taxes    401(k )           Cell Phone      Payroll                Benefits
       Employee               Pay Rate Monthly       Annual         8.5%           0.0%   9%     employer         Reimbursement    Processing   Wellmark                   5,521
Deeter, Heather                 2,456    4,912          58,944                               442      246                    50          150    United Healthcare            392
Hargrave, Douglas S .           4,635   9,270          111,240                     20%       834     464                     50                 Lincoln National             362
Malmberg, Mary Lee              3,251    6,502         78,025                      10%       585     325                     50                 VSP                          158
McGurk, Donald                  3,415    6,830         81,954                      10%       615     341                     50                 Delta Dental                 512
Meyer, MarkJ.                   3,219    6,438         77,250         X                      579     322                     50
Pickar, Jennifer                3,392   6,784          81,403                      10%       611     339                     50
Stow, Julie A.                  2,873   5,747          68,958                      10%       517     287                     50
Sturtz, Jacquelyn R.            1,973   3,947          47,359                                355     197                     50
Zabei, Elizabeth L.             1,931   3,863          46,350                      10%       348     193                     50
CEO                             4, 292  8,583         103,000                      30%       773     429                     50

                                  July:    62,874                        878                5,738        3,188              650                                            6,945
                               August:     62,874                        878                5,738        3,188              650                                            6,945
                            September:     62,874                      1,688                5,811        3,228              650                                            6,945
                              October:     62,874                      1,688                5,811       3,228               650                                            6,945
                            November:      62,874                      1,688                5,811       3,228               650                                            6,945
                            December:      62,874                        889                5,739       3,188               650                                            6,945
                              January:     62,874                      6,966                6,286       3,492               650                                            6,945
                             February:     62,874                        867                5,737       3,187               650                                            6,945
                                March:     62,874                        932                5,743       3,190               650                                            6,945
                                 April:    62,874                          0                5,659       3,144               650                                            6,945
                                 May:      62,874                          0                5,659       3,144               650                                            6,945
                                 June:     62,874                          0                5,659       3,144               650                                            6,945
                                          754,484                     16,473         0     69,386      38,548             7,800                                           83,339




                                                                                                                                    Exhibit BB, Page 3
                                                                                   Fiscal Year 2021
                                                                                 Bonus Employer
                                                Salary               Commissions Payout     Taxes     401(k )          Cell Phone     Payroll                 Benefits
        Employee                 Pay Rate Monthly        Annual         8.5%     100.0%       9%     employer        Reimbursement   Processing   Wellmark                5,935
Deeter, Heather                    2,530    5,059           60,712                               455      253                   50         150    United Healthcare         422
Hargrave, Douglas S     .          4,774   9,548           114,577                20%            859      477                   50                Lincoln National          389
Malmberg, Mary Lee                 3,349    6,697           80,366                10%            603      335                   50                VSP                       169
McGurk, Donald                     3,517    7,034           84,413                10%            633      352                   50                Delta Dental              551
Meyer, Mark J.                     3,315   6,631            79,568        X                     597       332                   50
Pickar, Jennifer                   3,494    6,987           83,846                10%           629       349                   50
Stow, Julie A.                     2,959   5,919            71,027                10%           533       296                   50
Sturtz, Jacquelyn R .              2,033   4,065            48,780                              366       203                   50
                .
Zabel, Elizabeth L                 1,989   3,978            47,741                10%           358      199                    50
CEO                                4,420   8,841           106,090                30%           796       442                   50

                                     July:    64,760                            896              5,909      3,283              650                                        7,466
                                  August:     64,760                            896              5,909      3,283              650                                        7,466
                             September :      64,760                          1,721              5,983      3,324              650                                        7,466
                                October:      64,760                              0              5,828      3,238              650                                        7,466
                             November:        64,760                          3,443              6,138      3,410              650                                        7,466
                              December:       64,760                            907              5,910      3,283              650                                        7,466
                                January:      64,760                          7,088              6,466      3,592              650                                        7,466
                               February:      64,760                            867              5,906      3,281              650                                        7,466
                                 March:       64,760                            985              5,917      3,287              650                                        7,466
                                   April:     64,760                              0              5,828      3,238              650                                        7,466
                                   May:       64,760                              0              5,828      3,238              650                                        7,466
                                   June:      64,760                           0                 5,828      3,238              650                                        7,466
                                             777,119                      16,802 91,482         71,453     39,696            7,800                                       89,589



                                                                                        Fiscal Year 2022
                                                                                      Bonus Employer
                                                Salary               Commissions      Payout     Taxes     401(k )     Cell Phone      Payroll                Benefits
         Employee                Pay Rate Monthly        Annual         8.5%          100.0%       9%     employer   Reimbursement   Processing   Wellmark                6,380
Deeter, Heather                    2,606    5,211          62,534                                     469      261              50         150    United Healthcare         453
Hargrave, Douglas S.               4,917   9,835          118,015                      20%            885      492              50                Lincoln National         418
Malmberg, Mary Lee                 3,449   6,898           82,777                      10%            621      345              50                VSP                      182
McGurk, Donald                     3,623   7,245           86,945                      10%            652      362              50                Delta Dental              592
Meyer, Mark J.                     3,415   6,830           81,955         X                           615      341              50
Pickar, Jennifer                   3,598   7,197           86,361                      10%            648      360              50
Stow, Julie A.                     3,048   6,096           73,158                      10%            549      305              50
Sturtz, Jacquelyn R.               2,093   4,187           50,244                                     377      209              50
Zabel, Elizabeth L.                2,049   4,098           49,173                      10%            369      205              50
                            3%
CEO                                4,553       9,106      109,273                      30%         820        455               50

                                   July :     66,703                            914             14,319      7,955              650                                        8,026
                                August:       66,703                            914              6,085      3,381              650                                        8,026
                             September:       66,703                          1,756              6,161      3,423              650                                        8,026
                               October:       66,703                              0              6,003      3,335              650                                        8,026
                             November:        66,703                          3,512              6,319      3,511              650                                        8,026
                             December:        66,703                            925              6,086      3,381             650                                         8,026
                               January:       66,703                          7,212              6,652      3,696             650                                         8,026
                              February:       66,703                            867              6,081      3,378             650                                         8,026
                                  March:      66,703                          1,040              6,097      3,387             650                                         8,026
                                   April:     66,703                              0              6,003      3,335             650                                         8,026
                                   May:       66,703                             0               6,003      3,335             650                                         8,026
                                   June:      66,703                           0                 6,003      3,335              650                                        8,026
                                             800,433                      17,139 94,226         81,815     45,453            7,800                                       96,308




                                                                                                                                      Exhibit BB, Page 4
